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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:

 CARLOS BRITO,

             Plaintiff,
 v.

 KENDALL VILLAGE ASSOCIATES,
 LTD., BRAIN FREEZE, LLC., VITAMIN
 SHOPPE INDUSTRIES LLC., and
 FOODGASM LLC.,

         Defendants.
 ______________________________________/

                                             COMPLAINT

        Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

 mobility-impaired        individuals   (hereinafter   “Plaintiff”),   sues   KENDALL      VILLAGE

 ASSOCIATES, LTD., BRAIN FREEZE, LLC., VITAMIN SHOPPE INDUSTRIES LLC., and

 FOODGASM LLC. (hereinafter “Defendants”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

        1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

 litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

 Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

        2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

 § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

        3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

 and may render declaratory judgment on the existence or nonexistence of any right under 42

 U.S.C. § 12181, et seq.
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         4.       Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a

 residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.       At all times material, Defendant, KENDALL VILLAGE ASSOCIATES, LTD.,

 owned and operated a commercial retail center located at 8625 SW 124th Ave Miami, Florida

 331831 (hereinafter the “Commercial Property”) and conducted a substantial amount of business

 in that place of public accommodation in Miami-Dade County, Florida. Defendant, KENDALL

 VILLAGE ASSOCIATES, LTD, holds itself out to the public as “Kendall Village Center.”

         6.       At all times material, Defendant, KENDALL VILLAGE ASSOCIATES, LTD.,

 was and is a corporation, organized under the laws of the State of Florida, with its principal place

 of business in Coconut Grove, Florida.

         7.       At all times material, Defendant, BRAIN FREEZE, LLC., owned and operated a

 commercial restaurant located at 8711 SW 124th Ave Miami, Florida 331832 (hereinafter the

 “Commercial Property”) and conducted a substantial amount of business in that place of public

 accommodation in Miami-Dade County, Florida. Defendant, BRAIN FREEZE, LLC., holds itself

 out to the public as “Brain Freeze Nitrogen Ice Cream Yogurt Lab.”

         8.       At all times material, Defendant, BRAIN FREEZE, LLC., was and is a Limited

 Liability Company, incorporated under the laws of the State of Florida, with its principal place of

 business in Miami, Florida.

         9.       At all times material, Defendant, VITAMIN SHOPPE INDUSTRIES LLC, owned




 1
   The Property at issue here encompasses several parcels and addresses including 8595 SW 124th Ave Miami,
 Florida 33183 and 8521 SW 124 Ave Miami, Florida 33183. The Parcels share common elements including signage,
 parking and entrances from the public right of way.
 2
   This address is located within the retail shopping center and place of public accommodation 8625 SW 124th Ave
 Miami, Florida 33183, owned and operated by landlord Defendant, KENDALL VILLAGE ASSOCIATES, LTD.

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 and operated retail grocery store located at 8707 SW 124th Ave Miami, Florida 331833 (hereinafter

 the “Commercial Property”) and conducted a substantial amount of business in that place of public

 accommodation in Miami-Dade County, Florida. Defendant, VITAMIN SHOPPE INDUSTRIES

 LLC., holds itself out to the public as “The Vitamin Shoppe.”

         10.      At all times material, Defendant, VITAMIN SHOPPE INDUSTRIES LLC., was

 and is Limited Liability Company, incorporated under the laws of the State of Florida, with its

 principal place of business in Secaucus, New Jersey.

         11.      At all times material, Defendant, FOODGASM LLC., owned and operated retail

 restaurant located at 8695 SW 124th Ave Miami, Florida 331834 (hereinafter the “Commercial

 Property”) and conducted a substantial amount of business in that place of public accommodation

 in Miami-Dade County, Florida. Defendant, FOODGASM LLC., holds itself out to the public as

 “Latin House Grill.”

         12.      At all times material, Defendant, FOODGASM LLC., was and is a Limited

 Liability Company, incorporated under the laws of the State of Florida, with its principal place of

 business in Miami, Florida.

         13.      Venue is properly located in the Southern District of Florida because Defendants’

 Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

 business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

 omissions giving rise to these claims occurred in Miami-Dade County, Florida.




 3
   This address is located within the retail shopping center and place of public accommodation 8625 SW 124th Ave
 Miami, Florida 33183, owned and operated by landlord Defendant, KENDALL VILLAGE ASSOCIATES, LTD.
 4
   This address is located within the retail shopping center and place of public accommodation 8625 SW 124th Ave
 Miami, Florida 33183, owned and operated by landlord Defendant, KENDALL VILLAGE ASSOCIATES, LTD.

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                                      FACTUAL ALLEGATIONS

        14.     Although over twenty-eight (28) years have passed since the effective date of Title

 III of the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

        15.     Congress provided commercial businesses one and a half years to implement the

 Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

 publicity the ADA has received since 1990, Defendants continue to discriminate against people

 who are disabled in ways that block them from access and use of Defendants’ businesses and

 properties.

        16.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

 requires landlords and tenants to be liable for compliance

        17.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

 pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

 from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

 his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

 use of a wheelchair to ambulate.

        18.     Defendant, KENDALL VILLAGE ASSOCIATES, LTD., owns, operates and

 oversees the Commercial Property, its general parking lot and parking spots.

        19.     The subject Commercial Property is open to the public and is located in Miami,

 Miami-Dade County, Florida.

        20.     The individual Plaintiff visits the Commercial Property and businesses located

 within the Commercial Property, regularly, to include visits to the Commercial Property and

 businesses located within the Commercial Property on or about August 18, 2020 and September

 1, 2021 encountering multiple violations of the ADA that directly affected his ability to use and


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 enjoy the Commercial Property and businesses located therein. He often visits the Commercial

 Property and businesses located within the Commercial Property in order to avail himself of the

 goods and services offered there, and because it is approximately (1) mile from his residence, and

 is near other businesses and restaurants he frequents as a patron. He plans to return to the

 Commercial Property and the businesses located within the Commercial Property within two (2)

 months of the filing of this Complaint, specifically on or before March 10, 2022.

        25.     Plaintiff resides nearby in the same County and state as the Commercial Property

 and the businesses located within the Commercial Property, has regularly frequented the

 Defendants’ Commercial Property and the businesses located within the Commercial Property for

 the intended purposes because of the proximity to his residence and other businesses that he

 frequents as a patron, and intends to return to the Commercial Property and businesses located

 within the Commercial Property within two (2) months from the filing of this Complaint,

 specifically on or before March 10, 2022.

        26.     The Plaintiff found the Commercial Property, and the businesses located within the

 Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

 barriers at the Commercial Property, and businesses located within the Commercial Property and

 wishes to continue his patronage and use of each of the premises.

        27.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

 at the subject Commercial Property, and businesses located within the Commercial Property. The

 barriers to access at the Commercial Property, and the businesses located within the Commercial

 Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

 businesses located within the Commercial Property, and have endangered his safety in violation

 of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of


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 injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly

 situated.

         28.    Defendants, KENDALL VILLAGE ASSOCIATES, LTD., BRAIN FREEZE,

 LLC., VITAMIN SHOPPE INDUSTRIES LLC., and FOODGASM LLC., own and/or operate a

 place of public accommodation as defined by the ADA and the regulations implementing the

 ADA, 28 CFR 36.201 (a) and 36.104. Defendants, KENDALL VILLAGE ASSOCIATES, LTD.,

 BRAIN FREEZE, LLC., VITAMIN SHOPPE INDUSTRIES LLC., and FOODGASM LLC., are

 responsible for complying with the obligations of the ADA. The place of public accommodation

 that Defendants, KENDALL VILLAGE ASSOCIATES, LTD., BRAIN FREEZE, LLC.,

 VITAMIN SHOPPE INDUSTRIES LLC., and FOODGASM LLC., own and/or operate the

 Commercial Property Businesses located at 8625 SW 124th Ave Miami, Florida 33183.

         29.    Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and the businesses located within the Commercial Property,

 including but not necessarily limited to the allegations in Counts I through IV of this Complaint.

 Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

 at the Commercial Property, and businesses located within the Commercial Property, in violation

 of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

 only to avail himself of the goods and services available at the Commercial Property, and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property and businesses located within the Commercial Property are in compliance with the ADA,

 so that he and others similarly situated will have full and equal enjoyment of the Commercial

 Property, and businesses located within the Commercial Property without fear of discrimination.


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        30.     Defendant, KENDALL VILLAGE ASSOCIATES, LTD., as landlord and owner

 of the Commercial Property Business, is responsible for all ADA violations listed in Counts I

 through IV.

        31.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and businesses located within the Commercial Property, but not

 necessarily limited to the allegations in Counts I through IV of this Complaint. Plaintiff has

 reasonable grounds to believe that he will continue to be subjected to discrimination at the

 Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

 Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

 not only to avail himself of the goods and services available at the Commercial Property and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property, and businesses located within the Commercial Property are in compliance with the ADA,

 so that he and others similarly situated will have full and equal enjoyment of the Commercial

 Property, and businesses located within the Commercial Property without fear of discrimination.

        32.     Defendants have discriminated against the individual Plaintiff by denying him

 access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

 and/or accommodations of the Commercial Property, and businesses located within the

 Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                       COUNT I – ADA VIOLATIONS
        AS TO COMMON AREA FOR KENDALL VILLAGE ASSOCIATES, LTD.

        33.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

 32 above as though fully set forth herein.

        34.     Defendant, KENDALL VILLAGE ASSOCIATES, LTD., has discriminated, and

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   continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have

   accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

   employees and gross receipts of $500,000 or less).                  A list of the violations that Plaintiff

   encountered during his visit to the Commercial Property, include but are not limited to, the

   following:

   Main Parcel5

         A. Parking

 i.     The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

        located on an excessive slope. Violation: There are accessible parking spaces located on an

        excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

ii.     The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

        aisles are located on an excessive slope. Violation: There are accessible parking space access

        aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

        of the 2010 ADA Standards, whose resolution is readily achievable.

         B. Entrance Access and Path of Travel

 i.     The plaintiff could not enter tenant spaces without assistance, as the required level landing is

        not provided. Violation: A level landing that is 60 inches minimum perpendicular to the

        doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a) of the

        ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is readily

        achievable.




   5
       The main parcel is reflected on Miami-Dade’s property appraiser as 8625 SW 124 th Ave Miami, Florida 33182.

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ii.       The plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

          Violation: There are inaccessible routes between sections of the facility. These are violations of

          the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2, 303,

          402 and 403, whose resolution is readily achievable.

iii.      The plaintiff had difficulty traversing the path of travel due to abrupt changes in level. Violation:

          There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2 of the

          ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.       The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive. Violation:

          There are curb ramps at the facility that contain excessive slopes, violating Section 4.7.2 of the

          ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose resolution is readily

          achievable.

 v.       The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

          2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

          of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

          achievable.

      Parking Garage Parcel6

          A. Parking

 i.       There are accessible parking spaces and access aisles that are obstructed by building supplies.

          Violation: Accessible elements are not properly maintained or readily accessible and usable

          by persons with disabilities violating 28 CFR 36.211, whose resolution is readily achievable.

 ii.      The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are


      6
       The parking garage is located in 8521 SW 124 Ave Miami, Florida, within the retail shopping center and place of
      public accommodation 8625 SW 124th Ave Miami, Florida 33183, owned and operated by landlord Defendant,
      KENDALL VILLAGE ASSOCIATES, LTD.

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            located on an excessive slope. Violation: There are accessible parking spaces located on an

            excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

            Standards, whose resolution is readily achievable.

 iii.       The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

            aisles are located on an excessive slope. Violation: There are accessible parking space access

            aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

            of the 2010 ADA Standards, whose resolution is readily achievable.

            B. Entrance Access and Path of Travel

          i.   The plaintiff had difficulty traversing the path of travel, as it was not continuous and

               accessible. Violation: There are inaccessible routes between sections of the facility. These

               are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and

               Sections 206.2.2, 303, 402 and 403, whose resolution is readily achievable.

        ii.    The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess

               of 2%. Violation: The path of travel contains excessive cross slopes in violation of Section

               4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is

               readily achievable.

        iii.   There are objects on the path of travel at the facility that protrude more than the maximum

               allowable, violating Section 4.4.1 of ADAAG and Section 307.2 of the 2010 ADA

               Standards, whose resolution is readily achievable.

   NW Parcel7

          i.   The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.


   7
    The NW Parcel is located in 8595 SW 124 Ave Miami, Florida, within the retail shopping center and place of
   public accommodation 8625 SW 124th Ave Miami, Florida 33183, owned and operated by landlord Defendant,
   KENDALL VILLAGE ASSOCIATES, LTD.

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           Violation: There are curb ramps at the facility that contain excessive slopes, violating

           Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards,

           whose resolution is readily achievable.

                           COUNT II – ADA VIOLATIONS
          AS TO KENDALL VILLAGE ASSOCIATES, LTD. and BRAIN FREEZE, LLC.

           35.    The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  32 above as though fully set forth herein.

           36.    Defendants, KENDALL VILLAGE ASSOCIATES, LTD., BRAIN FREEZE,

  LLC., have discriminated, and continues to discriminate, against Plaintiff in violation of the ADA

  by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

  Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of the

  violations that Plaintiff encountered during his visit to the Commercial Property, include but are

  not limited to, the following:

       A. Public Restrooms

     i.    The plaintiff could not exit the restroom without assistance, as the required maneuvering

           clearance was not provided due to the location of a trashcan. Violation: The restroom door

           does not provide the required latch side clearance due to a lack of maintenance violating

           Section 4.13.6 of the ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA

           Standards, whose resolution is readily achievable.

   ii.     The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

           wrapped. Violation: The lavatory pipes are not fully wrapped or insulated violating

           Section 4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose

           resolution is readily achievable.

   iii.    The plaintiff could not transfer to the toilet without assistance, as the rear grab bar is not

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          the required length and the side grab bar is not mounted at the required location. Violation:

          The grab bars do not comply with the requirements prescribed in Section 4.16.4 & Figure

          29 of the ADAAG and Section 604.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

                               COUNT III – ADA VIOLATIONS
                       AS TO KENDALL VILLAGE ASSOCIATES, LTD.,
                          and VITAMIN SHOPPE INDUSTRIES LLC.

          37.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   32 above as though fully set forth herein.

          38.     Defendants, KENDALL VILLAGE ASSOCIATES, LTD., BRAIN FREEZE,

   LLC., VITAMIN SHOPPE INDUSTRIES LLC., have discriminated, and continues to

   discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

   facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

   gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

   visit to the Commercial Property, include but are not limited to, the following:

      A. Access to Goods and Services

 i.   The plaintiff could not use the credit card processor, as it is mounted too high. Violation: There

      are sales counters at the facility in excess of 36” high, violating Section 7.2(1) of the ADAAG

      and Section 904.4 of the 2010 ADA Standards, whose resolution is readily achievable.

                         COUNT IV – ADA VIOLATIONS
          AS TO KENDALL VILLAGE ASSOCIATES, LTD., and FOODGASM LLC.

          39.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   32 above as though fully set forth herein.

          40.     Defendants, KENDALL VILLAGE ASSOCIATES, LTD., and FOODGASM

   LLC., have discriminated, and continues to discriminate, against Plaintiff in violation of the ADA

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         by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

         Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of the

         violations that Plaintiff encountered during his visit to the Commercial Property, include but are

         not limited to, the following:

            A. Access to Goods and Services

 i.         There is seating provided at the facility that does not comply with the standards prescribed in

            Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

            resolution is readily achievable.

ii.         The plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There are

            bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the

            ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily

            achievable.

            B. Public Restrooms

       i.   There is seating provided at the facility that does not comply with the standards prescribed in

            Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

            resolution is readily achievable.

      ii.   The accessible seating is not usable due to it being under a stack of tables. Violation:

            Accessible elements are not properly maintained or usable, violating 28 CFR 36.211, whose

            resolution is readily achievable.

            C. Public Restrooms

       i.   The plaintiff could not use the lavatory outside the accessible toilet compartment without

            assistance, as the required knee and toe clearance is not provided. Violation: There are

            lavatories outside the accessible toilet compartment that don’t provide the required clearances


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       violating Section 4.19.2 & Figure 31 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010

       ADA Standards, whose resolution is readily achievable.

ii.    The plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

iii.   The plaintiff could not exit the restroom area without assistance, as the required maneuvering

       clearance is not provided. Violation: The restroom area door does not provide the required

       latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

       ADA Standards, whose resolution is readily achievable.

iv.    The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

 v.    The plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

       the wide area. Violation: The flush valve is not mounted on the compliant side in violation of

       Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose resolution

       is readily achievable.

vi.    The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

       required distance from the side wall. Violation: The water closet in the accessible toilet

       compartment is mounted at a non-compliant distance from the wall in violation of Section




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          4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

          resolution is readily achievable.

vii.      The plaintiff could not use the paper towel dispenser without assistance, as it is mounted too

          high. Violation: There are dispensers provided for public use in the restroom, with controls

          outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections

          308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

viii.     The plaintiff had difficulty entering the restroom without assistance, as the door threshold is

          too high. Violation: There are threshold rises in excess of ½ inch at the restroom entrances,

          violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

          whose resolution is readily achievable.

                                      RELIEF SOUGHT AND THE BASIS

              45.     The discriminatory violations described in Counts I through IV are not an exclusive

       list of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places

       of public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff

       further requests to inspect any and all barriers to access that were concealed by virtue of the

       barriers' presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and

       equal enjoyment of the Commercial Business and businesses located within the Commercial

       Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule 34

       and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

       measures necessary to remove same, will require an on-site inspection by Plaintiff’s

       representatives pursuant to Federal Rule of Civil Procedure 34.




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          46.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

          47.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq.               Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.

          48.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled


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  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

         49.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         50.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         51.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 8625 SW 124th Ave Miami,

  Florida 33183, the exterior areas, and the common exterior areas of the Commercial Property and

  businesses located within the Commercial Property, to make those facilities readily accessible and

  useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until

  such time as the Defendants cure the violations of the ADA.

             WHEREFORE, The Plaintiff, CARLOS BRITO, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,


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  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.


  Dated: January 10, 2022


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                                                      By: ___/s/_Anthony J. Perez________
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